Case 1:23-cv-24251-FAM Document 89 Entered on FLSD Docket 02/29/2024 Page 1 of 22




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 23-CV-24251-FAM

  WILLIAM O. FULLER, et al.,

        Plaintiffs,

  v.

  CITY OF MIAMI, et al.,

        Defendants.
  _____________________________/

                          DEFENDANT VICTORIA MENDEZ’S
                      MOTION TO DISMISS AND MOTION TO STRIKE
                       PLAINTIFFS’ FIRST AMENDED COMPLAINT

                                           Luis E. Suarez
                                           Patricia Melville
                                           HEISE SUAREZ MELVILLE, P.A.
                                           2990 Ponce De Leon Boulevard
                                           Suite 300
                                           Coral Gables, Florida 33134
                                           Telephone (305) 800-4476


                                           Attorneys for Defendant,
                                           City Attorney Victoria Mendez
Case 1:23-cv-24251-FAM Document 89 Entered on FLSD Docket 02/29/2024 Page 2 of 22




          Pursuant to FED. R. CIV. P. 12(b)(6) and Local Rule 7.1, Defendant Victoria Mendez
  (“Mendez”) moves to dismiss all 17 Counts of Plaintiffs’ First Amended Complaint [DE 77] (the
  “FAC”), and pursuant to FED. R. CIV. P. 12 (f)(2), moves alternatively to strike scandalous,
  redundant, immaterial and impertinent allegations contained in the FAC:
                                           INTRODUCTION
          Mendez is the long-time City Attorney for the City of Miami. Unfortunately, Mendez’s
  fulfillment of her job responsibilities in this high-profile role has placed her in Plaintiffs’ aim.
  Targeting Mendez for doing her job is wrong: Mendez is afforded qualified immunity protections
  by virtue of acting in her capacity as a public official, and absolute immunity because of her
  specific role as City Attorney.
          Plaintiffs’ claims, all of which are predicated on retaliatory conduct under 42 U.S.C. §
  1983, or conspiracy to violate §1983, stem from their long-standing vendetta against another City
  of Miami official, Commissioner Joe Carollo. Plaintiffs have already had their day in court on
  these very issues. They are not entitled to a second bite at the apple under the res judicata doctrine.
  Even if they were, and Mendez were not protected by absolute or qualified immunity, the FAC is
  deficient because whatever vendetta Plaintiffs have with Carollo, or vice versa, cannot be imputed
  to Mendez. Yet, Plaintiffs use a prohibited “shotgun pleading” and lump Mendez together with
  Carollo, nine other public officials, and the City of Miami itself. Given this scattershot, lumping
  approach, Plaintiffs are unable to adequately allege their claims.
          Plaintiffs try to distract from their imprecision with a laundry list of scandalous and
  impertinent allegations, which must be stricken. Nor can this imprecision be covered by the fig
  leaf of pleading “conspiracy”, due to the intracorporate conspiracy doctrine. Finally, the muddled
  FAC must be dismissed because the alleged key events are simply outdated, and the statute of
  limitations has expired. All counts, both under § 1983 and conspiracy to violate §1983, fail.
                                         LEGAL STANDARD
          To avoid dismissal under Rule 12(b)(6), a complaint must allege facts that, if accepted as
  true, “state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544,
  570 (2007). A claim for relief is plausible if the complaint contains factual allegations that allow
  “the court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”
  Ashcroft v. Iqbal, 556 U.S. 662 (2009). “The plausibility standard is not akin to a ‘probability


                                                     1
                     2990 Ponce De Leon Blvd., Suite 300, Coral Gables, FL 33134 | 305-800-4476
Case 1:23-cv-24251-FAM Document 89 Entered on FLSD Docket 02/29/2024 Page 3 of 22




  requirement,’ but it asks for more than a sheer possibility that a defendant has acted unlawfully.”
  Id. (quoting Twombly, 550 U.S. at 545). Conclusory allegations, unwarranted deductions of facts,
  or legal conclusions masquerading as facts will not prevent dismissal. Oxford Asset Mgmt., Ltd. v.
  Jaharis, 297 F.3d 1182, 1188 (11th Cir. 2002). Further, “[the 11th C]ircuit, along with others, has
  tightened the application of Rule 8 with respect to § 1983 cases in an effort to weed out
  nonmeritorious claims, requiring that a § 1983 plaintiff allege with some specificity the facts which
  make out its claim.” Keating v. City of Miami, 598 F.3d 753, 762–63 (11th Cir. 2010) (citation
  omitted). Therefore, in a § 1983 action, “a plaintiff must plead that each Government-official
  defendant, through the official's own individual actions, has violated the Constitution.” Id. at 763
  (citation omitted). “We must also keep in mind the fact that we generally accord official conduct a
  presumption of legitimacy.” Dalrymple v. Reno, 334 F.3d 991, 996 (11th Cir.2003) (alterations
  omitted) (citing United States Dep't of State v. Ray, 502 U.S. 164, 179 (1991)).
                                             ARGUMENT
        I.   This Action Is Barred by Res Judicata.
          The FAC is barred by res judicata based on a prior final judgment entered in this very
  District. Plaintiffs Williams Fuller and Martin Pinilla filed a nearly identical action in 2018,
  asserting that Carollo and the City of Miami (the “City”) violated 42 U.S.C. § 1983 and First
  Amendment rights to free speech and freedom of association (“Fuller I”). On June 13, 2019, the
  Fuller I Court dismissed the lawsuit against the City for failure to state a claim. Fuller I, DE 99,
  118 (the “2019 Dismissal Order”). Fuller and Pinilla never re-pled claims against the City.
          Now, more than 4 years later, Fuller and Pinilla, along with 15 of their entities 1, bring this
  42 U.S.C. § 1983 action, all but identical to the first one, alleging that the City and its officials,
  including Mendez, violated their First Amendment right to free speech and freedom of association.
  The FAC is a gross offense to the res judicata doctrine, which entirely bars Plaintiffs’ claims.
         Res judicata “is a judicially crafted doctrine, created to provide finality and conserve
  resources.” Destin v. Brooks, 2023 WL 6340279, at *3 (S.D. Fla. Apr. 13, 2023). Res judicata bars



  1
    Apart from having never engaged in any speech, let alone protected speech, the entity-Plaintiffs
  also expressly assigned their purported claims to Fuller and Pinilla in Fuller I, which means that
  their purported claims were tried in Fuller I, and they possess no claims at all. See Fuller I, DE
  125, ¶¶ 111, 207, 298.

                                                     2
                     2990 Ponce De Leon Blvd., Suite 300, Coral Gables, FL 33134 | 305-800-4476
Case 1:23-cv-24251-FAM Document 89 Entered on FLSD Docket 02/29/2024 Page 4 of 22




  claims when the following four elements are present:
         (1) there is a final judgment in a prior suit on the merits;
         (2) the decision in the prior suit is rendered by a court of competent jurisdiction;
         (3) the prior suit involved the same parties, or those in privity with them; and
         (4) both suits involve the same cause of action.
  O'Connor v. PCA Fam. Health Plan, Inc., 200 F.3d 1349, 1355 (11th Cir. 2000); Hilliard v.
  Gutierrez, 2021 WL 2712122, at *5 (S.D. Fla. July 1, 2021). Res judicata bars not only those
  claims raised in the first suit, but also claims that could have been raised in the prior suit if those
  claims arise “out of the same nucleus of operative fact as a former action.” O'Connor, 200 F.3d at
  1356 (quoting Citibank, N.A. v. Data Lease Fin. Corp., 904 F.2d 1498, 1503 (11th Cir. 1990)).
                A. There is a Prior Final Judgment on the Merits by a Court of Competent
                   Jurisdiction.
         The 2019 Dismissal Order is a final judgment on the merits because the basis for dismissal
  was failure to state a claim and Plaintiffs did not replead their claim against the City before the
  Fuller I court’s deadline. The Fuller I court granted the City’s motion to dismiss under Fed. R.
  Civ. P. 12(b)(6), finding, inter alia, a failure to allege a claim that would survive sovereign
  immunity, but gave Fuller and Pinilla until June 26, 2019, to amend their complaint against the
  City. Fuller I, 2019 Dismissal Order. Fuller and Pinilla opted not to do so. When Fuller and Pinilla
  amended their complaint, they dropped their claim against the City and asserted a single cause of
  action against Carollo. Fuller I, DE 125 at 52. Fuller and Pinilla did not seek to further amend their
  pleadings at any point before the June 26, 2019 deadline, or before trial.
         After the June 26, 2019 deadline expired, the 2019 Dismissal Order became final. See Auto.
  Alignment Body Serv., Inc. v. State Farm Mut. Auto. Ins. Co, 953 F.3d 707, 719-20 (11th Cir. 2020)
  (citing Hertz Corp. v. Alamo Rent-A-Car, Inc., 16 F.3d 1126, 1132-33 (11th Cir. 1994)) (“… an
  order dismissing a complaint with leave to amend within a specified time becomes a final judgment
  if the time allowed for amendment expires without the plaintiff seeking an extension….The orders
  dismissing the first amended complaints . . . became final judgments under Hertz when the body
  shops missed their deadline to amend); Cummings v. Nissim Corp., 2011 WL 13115436, at *2 (S.D.
  Fla. Aug. 2, 2011) (“Where a party chooses to appeal a dismissal without prejudice without
  exercising its leave to amend, the dismissal becomes a final decision on the merits.”).



                                                     3
                     2990 Ponce De Leon Blvd., Suite 300, Coral Gables, FL 33134 | 305-800-4476
Case 1:23-cv-24251-FAM Document 89 Entered on FLSD Docket 02/29/2024 Page 5 of 22




         Further, the 2019 Dismissal Order was “on the merits” because the basis for dismissal was
  failure to state a claim. The Eleventh Circuit has consistently held that dismissals for failure to
  state a claim constitute final judgments on the merits. 2
         Smith is instructive. There, the Eleventh Circuit held that a prior dismissal without
  prejudice constituted a final judgment on the merits because (1) the plaintiffs waived their right to
  further amend their complaint by seeking to appeal the dismissal, and (2) the dismissal was for
  failure to state a claim. 808 Fed. Appx. at 854. Like the Smith plaintiffs, Fuller and Pinilla waived
  their right to amend their complaint—which was dismissed for failure to state a claim—before the
  court’s deadline. For these reasons, the 2019 Dismissal Order is a final judgment on the merits. 3
                B. The Fuller I Parties, or Those in Privity with Them, Are Deemed Identical to
                   Those in This Case.
         This case involves the same parties as Fuller I and their privies. The only difference is that
  Fuller and Pinilla, the plaintiffs in Fuller I, added more plaintiffs (their wholly owned entities) and
  defendants (other City of Miami officials) in this action. Mendez incorporates and adopts by
  reference Subsection II.A.2. of Joe Carollo’s Motion to Dismiss the Complaint With Prejudice
  (“Carollo Motion to Dismiss”) as to Plaintiffs being in privity with each other. 4
         Then, on the defense side of the equation, Mendez is in clear privity with the City, which
  was a defendant in Fuller I and the subject of the 2019 Dismissal Order. Mendez was at all times
  a City of Miami official. FAC, ¶ 21; Hilliard, 2021 WL 2712122 at *5 (holding government
  officers to be in privity with the government). In Hillard, the plaintiff sued the Hialeah Housing


  2
    Smith v. Sec’y of Veterans Affairs, 808 Fed. Appx. 852, 854 (11th Cir. 2020) (dismissal without
  prejudice was final judgment on the merits because it was based on failure to state a claim); Solis
  v. Glob. Acceptance Credit Co., L.P., 601 Fed. Appx. 767, 770 (11th Cir. 2015) (dismissal was final
  judgment on the merits despite ambiguity regarding prejudice because the Supreme Court has
  flatly stated that “[t]he dismissal for failure to state a claim under Federal Rule of Civil Procedure
  12(b)(6) is a ‘judgment on the merits.’”) (quoting Federated Dept. Stores, Inc. v. Moitie, 452 U.S.
  394, n. 3 (1981)); N.A.A.C.P. v. Hunt, 891 F.2d 1555, 1560 (11th Cir. 1990) (same)
  3
     The Fuller I court, another court of this District, unquestionably was a court of competent
  jurisdiction as to the § 1983 claims asserted in that case. E.g., Hilliard, 2021 WL 2712122, at *5.
  4
    Out of respect for the Court’s time, where possible, Mendez has incorporated by reference the
  arguments of her co-defendants rather than burden the Court with setting forth lengthy
  redundancies. See e.g. Robert P. Boswell, D.M.V., P.A. v. Scott J. Swerdlin, D.M.V., P.A., 2008 WL
  11332004, at *4 (S.D. Fla. Sept. 25, 2008), report and recommendation adopted, 2008 WL
  11333663 (S.D. Fla. Oct. 15, 2008).

                                                     4
                     2990 Ponce De Leon Blvd., Suite 300, Coral Gables, FL 33134 | 305-800-4476
Case 1:23-cv-24251-FAM Document 89 Entered on FLSD Docket 02/29/2024 Page 6 of 22




  Authority (the “HHA”), and then later an officer—in his individual capacity—who worked for the
  HHA under nearly identical facts and claims. Id. 5 The Court dismissed the second action based on
  res judicata because the officer and HHA were in privity with each other. Id. The court noted that
  “[t]here is privity between officers of the same government so that a judgment in a suit between a
  party and a representative...is res judicata in [relitigation] of the same issue between that party and
  another officer of the government.” Id. (quoting Montford v. Metro. Dade Cnty. Gov't, 2002 WL
  34382746, at *3 (S.D. Fla. Mar. 27, 2002)).
         Even without privity, “the Eleventh Circuit has made perfectly clear that a party ‘may not
  avoid the application of res judicata by adding new parties.’” Ardis v. Anderson, 662 F. App’x
  729, 732 (11th Cir. 2016) (quoting Endsley v. City of Macon, 321 F. App’x. 811, 814 (11th Cir.
  2008)) (emphasis added). Indeed, a complaint is barred by res judicata where “[t]he claims
  plaintiff has asserted against the new defendants ... could and should have been brought” in the
  prior action. Id. (emphasis added). 6
         Destin v. Brooks is instructive. 2023 WL 6340279, at *3 (S.D. Fla. Apr. 13, 2023). There,
  the plaintiff’s previous suit against police officers was dismissed. Id. The plaintiff subsequently
  brought a second, nearly identical suit that added another, new defendant: the Florida Attorney
  General. Id. The court dismissed the second action with prejudice based on res judicata, explaining
  that the plaintiff cannot simply circumvent res judicata by adding a new defendant:
         As to the third element, the only change in the parties is that Plaintiff has removed
         State Attorney Fernandez Rundle and added Detective McKinnon and Attorney
         General Moody as Defendants. “[T]he Eleventh Circuit has recognized that a party
         ‘may not avoid the application of res judicata by adding new parties.’” A
         complaint is barred by res judicata where “[t]he claims plaintiff has asserted against

  5
    Although the officer was named in the first suit, he was never served with process and the parties
  disputed whether he was technically a party to the first suit for res judicata purposes. Id. at 6. The
  court did not need to resolve that dispute because the officer was in privity with HHA. Id.
  6
    See also Hilliard, 2021 WL 2712122 at *6 (dismissing action based on res judicata because the
  “plaintiff cannot avoid the preclusive effects of the res judicata doctrine simply by naming
  additional defendants in the new action, where the plaintiffs’ subsequent claims arose from the
  same facts as those at issue in the prior action and could therefore have been brought previously”);
  N.A.S. v. Morada-Haute Furniture Boutique LLC, 2022 WL 5246828, at *5 (S.D. Fla. July 22,
  2022) (dismissing action as to all defendants based on res judicata because “the addition of a new
  defendant will not immunize Plaintiffs from the preclusive effects of res judicata”); Makozy v.
  Westcor Land Title, 2022 WL 2758368, at *2 (S.D. Fla. Apr. 5, 2022) (dismissing complaint under
  res judicata where the plaintiff added a new defendant that he could have brought in prior action).

                                                     5
                     2990 Ponce De Leon Blvd., Suite 300, Coral Gables, FL 33134 | 305-800-4476
Case 1:23-cv-24251-FAM Document 89 Entered on FLSD Docket 02/29/2024 Page 7 of 22




          the new defendants ... could and should have been brought” in the prior action.
          Here, Plaintiff's sole allegation against Detective McKinnon—that she swabbed his
          DNA—could and should have been included in his complaint in the First Case,
          which alleged an unlawful search based on the swabbing of his DNA…Therefore,
          the third element is met.
  Id. (citations omitted) (emphasis added). Because the plaintiff could have brought the Florida
  Attorney General in the initial action, the second action was dismissed with prejudice against all
  defendants—new and old alike. Id. The same principle applies here—Plaintiffs cannot avoid res
  judicata by simply adding Mendez and other defendants.
                C. The First Amended Complaint Arises from the Same Facts and Alleges the
                   Same Claims as Fuller I.
          The facts and claims made in the FAC and nearly identical to those made in Fuller I. Both
  Fuller I and this case assert 42 U.S.C. § 1983 claims arising under the First Amendment; the
  Amended Complaint in Fuller I asserted these claims against the City before abandoning them.
  Fuller I, DE 25. In this case, as in Fuller I, Plaintiffs seek redress because
  “Upon taking office, Carollo drew up a list of all Plaintiffs’ properties and associated businesses
  for purposes of targeting those businesses for fines and shutting them down.” Compare FAC, ¶ 50,
  with Fuller I, DE 125, ¶¶ 59–62 (Second Amended Complaint) (“Upon taking office, Carollo
  immediately drew up a list of Plaintiffs’ properties and associated businesses in District 3 . . . .
  Carollo said he had a list of addresses for Fuller’s properties that he would give to Diez, from
  which Diez understood Carollo was asking him to selectively target Fuller’s properties.”); DE 43,
  ¶¶ 63-66 (First Amended Complaint) (same). Any additional allegations arise from the same core
  conduct, and either was or should have been raised in Fuller I.
          Because res judicata squarely bars this entire lawsuit and every one of Plaintiffs’ claims,
  all of which were or could have been litigated in Fuller I, this Court should dismiss with prejudice.
       II.    This Action is Barred by the Claims-Splitting and Double Recovery Doctrines.
          Mendez incorporates and adopts by reference Section IV of the Motion to Dismiss
  Plaintiffs’ First Amended Complaint by Defendants Luis Torres, Adrian Plasencia, and Rene Diaz,
  and Section IV and VIII of Defendant City of Miami’s Motion to Dismiss the First Amended
  Complaint with Prejudice, and Mendez moves to dismiss this entire lawsuit and every one of
  Plaintiffs’ claims.



                                                        6
                        2990 Ponce De Leon Blvd., Suite 300, Coral Gables, FL 33134 | 305-800-4476
Case 1:23-cv-24251-FAM Document 89 Entered on FLSD Docket 02/29/2024 Page 8 of 22




      III.   Absolute Immunity Protects Attorneys From Liability For Duties in the Judicial
             and Legislative Process.
         Mendez is entitled to absolute immunity because the alleged acts were conducted pursuant
  to her role as City Attorney, and as a result, the Complaint must be dismissed.
         Absolute immunity applies where a city attorney is performing duties integral to the
  judicial process. Parette v. Virden, 173 Fed. Appx. 534, 536 (8th Cir. 2006). 7 The absolute
  immunity doctrine shields prosecutors and other lawyers from § 1983 claims, and derives from the
  common law: “Like witnesses, prosecutors and other lawyers were absolutely immune from
  damages liability at common law for making false or defamatory statements in judicial proceedings
  (at least so long as the statements were related to the proceeding), and also for eliciting false and
  defamatory testimony from witnesses.” Burns v. Reed, 500 U.S. 478, 489–92 (1991). This doctrine
  is well reasoned, “as absolute immunity for this function serves the policy of protecting the judicial
  process.” Id. Therefore, a prosecutor is entitled to absolute immunity for all actions performed
  within the scope of the prosecutor’s role as a government advocate. Rivera v. Leal, 359 F.3d 1350,
  1353 (11th Cir. 2004) (citing Buckley v. Fitzsimmons, 509 U.S. 259, 273, (1993)). See also
  Flournoy v. Copley, 2013 WL 5487415, at *1 (M.D. Fla. Sept. 30, 2013) (collecting cases).
         Absolute immunity unequivocally protects Mendez with respect to most, if not all, of the
  allegations here. First, as the City of Miami Charter makes clear, she operates in a prosecutorial
  function: and “shall be the prosecuting attorney of the municipal court.” City of Miami Charter,
  Subpart A, § 21 (“[w]hen required to do so by the resolution of the city commission, the city
  attorney shall prosecute or defend for and in behalf of the city all complaints, suits and
  controversies in which the city is a party, and such other suits, matters and controversies as he
  shall, by resolution or ordinance, be directed to prosecute or defend.”). 8
         Moreover, several Federal Court of Appeals have applied absolute immunity specifically
  to a city attorney. For example, in Benavidez v. Howard, the Tenth Circuit recognized that the

  7
    See also Dornheim v. Sholes, 430 F.3d 919, 925 (8th Cir. 2005) (absolute immunity from civil
  rights suit applies where official was performing duties that were integrally part of judicial process,
  provided function was granted immunity under common law at time § 1983 was enacted); In re
  Castillo, 297 F.3d 940, 947–48 (9th Cir. 2002) (applying absolute quasi-judicial to bankruptcy
  trustee and her assistant and noting many contexts in which immunity doctrine extends).
  8
    This Court can consider the City of Miami Charter because it is public record. See Defendants’
  Joint Motion for Request for Judicial Notice of Facts in Support of their Motions to Dismiss.

                                                     7
                     2990 Ponce De Leon Blvd., Suite 300, Coral Gables, FL 33134 | 305-800-4476
Case 1:23-cv-24251-FAM Document 89 Entered on FLSD Docket 02/29/2024 Page 9 of 22




  city attorney and assistant city attorneys were absolutely immune from collateral § 1983 suit for
  damages for their acts of preparing and filing motion for protective order on behalf of a city clerk.
  931 F.3d 1225 (10th Cir. 2019). The Seventh Circuit also recognized that an assistant city attorney
  was absolutely immune against a suit alleging that the defendant retaliated against public criticism
  by initiating proceedings to demolish a house. Smith v. Power, 346 F.3d 740 (7th Cir. 2003). So
  too in the Sixth Circuit, where a city attorney was shielded by prosecutorial immunity from a
  §1983 claim based on bringing a nuisance claim against a nightclub owner. Red Zone 12 LLC v.
  City of Columbus, 758 Fed. Appx. 508 (6th Cir. 2019). See also Parette, 173 F. App’x at 536
  (Eighth Circuit finding a city attorney absolutely immune from liability arising from prosecuting
  a condemnation action). Therefore, there can be no doubt that—as a matter of law—Mendez is
  protected by absolute immunity as the City Attorney for claims based on legal proceedings.
          The intelligible allegations in the FAC against Mendez are largely based on her role as City
  Attorney in legal proceedings:
      •   FAC, p. 2: an “an endless effort to exhaust and destroy plaintiffs through a legal minefield
          by filing bogus and frivolous claims”;
      •   FAC, ¶¶ 118, 599-600: making statements at a hearing before the code enforcement board; 9
      •   FAC, ¶¶ 56-59: helming a task force “regarding violations relating to no certificate of use,
          certificate of use obtained under false pretenses and/or properties with violations that pose
          life-safety issues, and initiate injunctive proceedings against said properties until the
          properties are brought into compliance” (quoting Resolution [4-1]) (emphasis added).
      •   FAC, ¶ 135: spending $15 million on legal fees seeking to bankrupt plaintiffs; filings a
          Civil RICO claim against Plaintiffs;
      •   FAC, ¶¶ 66, 186: “targeting” that, while vague, presumably means initiating code
          enforcement actions; and
      •   FAC, ¶ 597: filing an emergency motion for injunctive relief.
          The nature of the instant legal proceedings, which include administrative and civil actions,
  is immaterial: in Butz v. Economou, the Supreme Court clarified that the absolute immunity for
  prosecutors extends to attorneys who participate in administrative proceedings, reasoning that

  9
    If this allegation intends to indicate Mendez was a witness rather than an attorney at this hearing,
  that too is barred. “[W]itnesses are absolutely immune from damages based on their testimony”.
  Baker v. City of Hollywood, 391 Fed. Appx. 819, 822 (11th Cir. 2010) (affirming dismissal of
  complaint for constitutional violations and conspiracy under § 1983); Chaney v. Sec’y, Fla. Dep’t
  of Corr., 2019 U.S. Dist. LEXIS 63480, *9 (S.D. Fla. Apr. 11, 2019) (citing Briscoe v. LaHue, 460
  U.S. 325 (1983)) (“it is well settled that witnesses in a judicial proceeding are immune from
  liability regarding their testimony in court.”).

                                                     8
                     2990 Ponce De Leon Blvd., Suite 300, Coral Gables, FL 33134 | 305-800-4476
Case 1:23-cv-24251-FAM Document 89 Entered on FLSD Docket 02/29/2024 Page 10 of 22




   “agency officials performing certain functions analogous to a prosecutor should be able to claim
   absolute immunity with respect to such acts.” 438 U.S. 478, 515 (1978). Pursuant to Butz,
   “[f]ederal courts of appeal have extended absolute immunity to the conduct of prosecutors in civil
   actions.” Bala v. Stenehjem, 671 F. Supp. 2d 1067, 1082 (D.N.D. 2009) (collecting cases). 10
            The remaining clear allegations against Mendez are also barred by absolute immunity
   because they are based on the City Attorney’s role in legislation:
        •   FAC, ¶ 51: “Carollo found his first allies in City Attorney Mendez and her Assistant City
            Attorney, Dooley, both of whom worked willingly … changing existing ordinances and
            passing new ordinances.”;
        •   FAC, ¶ 86: “…Carollo, Noriega, Mendez, Dooley, Marrero, and Diaz had accomplished
            their goal of passing new ordinances to shut down one of Fuller’s most prominent
            properties”;
        •   FAC, ¶ 121: “… the City of Miami, Carollo, Noriega, Mendez, Dooley, Marrero and Diaz
            did in fact pass an ordinance to allow for demolition of historic buildings, Ordinance
            14118.” See also id., ¶¶ 385, 476 (also alleging that Mendez and others passed Ordinance
            14118);
        •   FAC, ¶ 135: “Mendez develops the City codes, ordinances, resolutions, tasks forces, and
            policies…”;
        •   FAC, ¶ 221: “Defendants Carollo, Noriega, Mendez, Dooley, Marrero, and Diaz passed
            Ordinance 13936…” See also id., ¶¶ 235, 272, 357, 398 (also alleging that Mendez and
            others targeted Plaintiff by passing Ordinance 13936);
        •   FAC, ¶ 325. “...Defendants the City, Carollo, Noriega, Mendez, Dooley, and Marrero’s
            passing of Ordinance 11936…”;
        •   FAC, ¶ 386: “Defendants the City of Miami, Carollo, Noriega, Mendez, Dooley, and
            Marrero have also targeted Plaintiff Beatstik through the passage of Ordinance 14057 …”

   10
      See also e.g., Redlich v. Leen, 2016 WL 3670575, at *5 (S.D. Fla. May 20, 2016) (private
   attorney “entitled to absolute immunity in his hired role as a prosecutor on behalf of the City of
   Coral Gables in the traffic court proceeding”); Henry v. Morris, 2009 WL 1651395, at *2 (M.D.
   Fla. June 12, 2009) (recognizing that attorneys “representing the Government in civil litigation are
   entitled to absolute immunity for their official conduct during adjudication of cases involving the
   Government.”); Parette, supra; Cooper v. Parrish, 203 F.3d 937, 947 (6th Cir. 2000) (finding a
   district attorney absolutely immune from liability arising from preparing and deciding to file public
   nuisance and civil forfeiture complaints); Mendenhall v. Goldsmith, 59 F.3d 685, 691 (7th Cir.
   1995) (finding that a prosecuting attorney was entitled to absolute immunity for administering civil
   forfeiture proceedings because the attorney was functioning in an enforcement role analogous to a
   prosecutor); Schrob v. Catterson, 948 F.2d 1402, 1413 (3d Cir. 1991) (finding that a prosecutor
   was entitled to absolute immunity for his actions in initiating a civil forfeiture proceeding); Fry v.
   Melaragno, 939 F.2d 832, 837 (9th Cir. 1991) (reasoning that “the principles outlined in Butz
   should a fortiori apply to the government attorney's initiation and handling of civil litigation in a
   state or federal court”).

                                                       9
                       2990 Ponce De Leon Blvd., Suite 300, Coral Gables, FL 33134 | 305-800-4476
Case 1:23-cv-24251-FAM Document 89 Entered on FLSD Docket 02/29/2024 Page 11 of 22




           See also id., ¶¶ 422, 477, 558 (Plaintiffs El Shopping, Tower hotel, Bungalows
           respectively, were targeted by Ordinance 14057); and
       •   FAC, ¶ 535: “Carollo, Mendez and Dooley worked together … changing existing
           ordinances and passing new ordinances to prohibit the business’ operation.”
           Beach Blitz Co. v. City of Miami Beach is on all fours to these allegations. 2018 WL
   11260453 (S.D. Fla. Feb. 5, 2018). There, the plaintiff, a liquor store owner, brought several 1983
   claims, including for retaliatory conduct, against several City of Miami Beach officials. Id.
   Amongst the purported misconduct was passing ordinances. The court, however, properly
   recognized that these claims against the “individually-named Defendants fail as a matter of law
   because local legislators are entitled to absolute immunity from civil liability for their legislative
   activities.” Id. at *4 (citing Bogan v. Scott-Harris, 523 U.S. 44, 54-55 (1998) (barring claims
   against city mayor and council members related to their conduct in introducing, voting for, and
   signing an ordinance that eliminated plaintiff’s office)). In so holding, the court recognized that
   this immunity extends to the City Attorney:
           The City Attorney’s office allegedly assisted in the process of passing the
           ordinances by preparing and revising the drafts. Id. ¶ 49. Therefore, the City
           Attorney’s office also has absolute immunity as “officials outside the legislative
           branch are entitled to immunity when they perform legislative functions.” Bogan,
           522 U.S. at 55 (internal citation omitted). The City Attorneys’ actions “were
           legislative because they were integral in the legislative process.” Id.
   Id. at n. 16. Beach Blitz is correct as it relies on clear Supreme Court precedent, and it is
   indistinguishable from the present case with respect to Mendez’s alleged role in passing ordinances
   and policies. Therefore, Mendez is protected by absolute immunity against allegations regarding
   her role in the legislative process.
           The claims regarding legislative acts also fail because Mendez, as the City Attorney, was
   not the final policymaker, as she could not and did not pass ordinances on her own. See City of
   Miami Charter, § 4(a) (“The city commission shall constitute the governing body with powers (as
   hereinafter provided) to pass ordinances adopt regulations and exercise all powers conferred upon
   the city except as hereinafter provided.”); Gilroy v. Baldwin, 843 Fed.Appx. 194, 196 (11th Cir.
   2021) (in order for a public employee to be individually liable, they had to not merely recommend
   a decision, but to effectuate it). Mendez incorporates by reference Section I of Defendant Rachel
   Dooley’s Motion to Dismiss Plaintiffs’ First Amended Complaint on this issue.
           Stripped of the prosecutorial and legislative acts protected by absolute immunity, each

                                                     10
                      2990 Ponce De Leon Blvd., Suite 300, Coral Gables, FL 33134 | 305-800-4476
Case 1:23-cv-24251-FAM Document 89 Entered on FLSD Docket 02/29/2024 Page 12 of 22




   Count is left without actionable conduct. 11 Thus, all claims against Mendez must be dismissed.
        IV.    City Attorney Mendez Is Entitled to Qualified Immunity.
           Qualified immunity protects government officials sued in their individual capacities 12 as
   long as their conduct does not violate “clearly established statutory or constitutional rights of
   which a reasonable person would have known.” Bldg. Empowerment by Stopping Trafficking, Inc.
   v. Jacobo, 2013 WL 5435729, at *1 (S.D. Fla. Sept. 27, 2013) (quoting Harlow v. Fitzgerald, 457
   U.S. 800, 818 (1982)). “The purpose of this immunity is to allow government officials to carry out
   their discretionary duties without the fear of personal liability or harassing litigation.” Id. (quoting
   Lee v. Ferraro, 284 F.3d 1188, 1194 (11th Cir. 2002)). The defense may be raised and addressed
   on a motion to dismiss, and will be granted if the complaint “fails to allege the violation of a clearly
   established constitutional right.” Jacobo, 2013 WL 5435729 at *1 (quoting Williams v. Ala. State
   Univ., 102 F.3d 1179, 1182 (11th Cir. 2003)).
          To establish a qualified immunity defense, “the public official must first prove that he was
   acting within the scope of his discretionary authority when the allegedly wrongful acts occurred.”
   Jacobo, 2013 WL 5435729 at *2 (quoting Lee, 284 F.3d at 1197). To act within the scope of
   discretionary authority means that the actions were (1) undertaken pursuant to the performance of
   her duties and (2) within the scope of her authority. Id. Once Mendez establishes that she was
   acting within her discretionary authority, the burden shifts to Plaintiffs to demonstrate that
   qualified immunity is not appropriate. Id. Plaintiffs must demonstrate that Mendez had notice that
   her actions would violate a “clearly established” constitutional right. Id.
           City Attorney Mendez is entitled to qualified immunity because (1) she was acting in her
   discretionary role as City Attorney, and (2) she was not on notice that her conduct as City Attorney
   would violate a “clearly established” right.
                A. Mendez Was Acting in her Discretionary Role as City Attorney.
          Mendez was acting within her discretionary function as the City Attorney under the facts


   11
      For instance, the FAC is littered with vagaries like “mobilizing city resources” without explaining
   what this means or how it was done. E.g. FAC, ¶¶ 191, 266, 296, 325, 332, 347, 357, 392, 398,
   428, 484, 518. Remaining specific acts are protected under qualified immunity, as set stated below.
   12
      Although Plaintiffs sue Mendez in her individual capacity, to the extent that Plaintiffs allege that
   they are suing Mendez in her official capacity, Mendez incorporates by reference Section X of the
   City’s Motion to Dismiss.

                                                     11
                      2990 Ponce De Leon Blvd., Suite 300, Coral Gables, FL 33134 | 305-800-4476
Case 1:23-cv-24251-FAM Document 89 Entered on FLSD Docket 02/29/2024 Page 13 of 22




   alleged by the Plaintiffs because those actions were (1) undertaken pursuant to the performance of
   her duties, and (2) within the scope of her authority. Jacobo, 2013 WL 5435729 at *2. This
   “inquiry is not whether it was within the defendant’s authority to commit the allegedly illegal act.”
   O'Boyle v. Sweetapple, 2015 WL 13574304, at *11 (S.D. Fla. June 4, 2015). “Instead, a court must
   ask whether the act complained of, if done for a proper purpose, would be within, or reasonably
   related to, the outer perimeter of an official’s discretionary duties.” Id. (emphasis added).
          Clearly, City Attorney Mendez’s alleged conduct was at least within the outer perimeter of
   her official duties. “The City of Miami’s Charter sets out the role of the City Attorney.” Watts v.
   City of Miami, 2015 WL 13310057, at *2 (S.D. Fla. July 22, 2015) (citing City of Miami Charter,
   Part 1, § 21). The City of Miami’s Charter provides that the City Attorney shall be the “legal
   advisor of and attorney and counsel for the city, and for all officers and departments thereof in
   matters relating to their official duties” and “shall be the prosecuting attorney of the municipal
   court.” See City of Miami Charter, Part 1, § 21.
          The City of Miami’s Charter provides that, “[w]hen required to do so by the resolution of
   the city commission, the city attorney shall prosecute or defend for and in behalf of the city all
   complaints, suits and controversies in which the city is a party, and such other suits, matters and
   controversies as he shall, by resolution or ordinance, be directed to prosecute or defend.” Id.
   Moreover, the “mayor, city commission, the city manager, the director of any department, or any
   officer ... may require the opinion of the city attorney upon any question of law involving their
   respective powers and duties.” Id.
          The FAC is heavy on vagaries, but the intelligibly alleged acts that Mendez took were in
   clearly in her capacity as City Attorney including those listed above in Section III, below in Section
   IV.B., and, additionally, providing advice to Commissioner Carollo (FAC, ¶ 33), trying to
   postpone and cancel a final hearing (id., ¶ 117), advising city personnel (id., ¶ 135), creating
   official policies (id., ¶ 166), enforcing city policies (id., ¶¶ 193, 245, 347), and withdrawing or
   revoking permits (id., ¶¶ 336, 598). The Eleventh Circuit has been clear that under circumstances
   like here, legal advice should be protected by qualified immunity. See Holden v. Sticher, 427 Fed.
   Appx. 749, 752 (11th Cir. 2011) (attorney who provided legal advice alleged to have caused arrest
   without probable cause was protected by qualified immunity) (citing Durruthy v. Pastor, 351 F.3d
   1080, 1087 (11th Cir.2003) (if discretionary authority is not contested, plaintiff must show that


                                                      12
                      2990 Ponce De Leon Blvd., Suite 300, Coral Gables, FL 33134 | 305-800-4476
Case 1:23-cv-24251-FAM Document 89 Entered on FLSD Docket 02/29/2024 Page 14 of 22




   attorney violated a constitutional right and that constitutional right was clearly established); Jones
   v. Cannon, 174 F.3d 1271, 1282 (11th Cir.1999) (“a plaintiff cannot strip a § 1983 defendant of
   his qualified immunity by citing to general rules or abstract rights”)).
          This is all conduct that is “within, or reasonably related to, the outer perimeter of”
   Mendez’s broad authority. O'Boyle, 2015 WL 13574304 at *11 (holding that filing a bar complaint
   was within outer perimeter of mayor’s duties after analyzing the subject town’s charter).
   Accordingly, she was acting within her discretionary functions as the City Attorney.
                 B. City Attorney Mendez Did Not Have Fair Notice That Her Alleged Conduct
                    Violates a Clearly Established Right.
          Plaintiffs cannot show that Mendez had “fair notice that [her] conduct would violate the
   Constitution.” Echols v. Lawton, 913 F.3d 1313, 1325 (11th Cir. 2019) (“the Supreme Court has
   long ruled that qualified immunity protects a badly behaving official unless he had fair notice that
   his conduct would violate the Constitution”). Although the Eleventh Circuit has recognized a
   broad, clearly established principle that “the government may not retaliate against citizens for the
   exercise of First Amendment rights[,]” the Plaintiffs cannot show that Mendez had fair notice that
   she was violating this principle. Shiver, 2021 WL 5174526 at *9 (quoting Bennett v. Hendrix, 423
   F.3d 1247, 1256 (11th Cir. 2005)).
          Fair notice requires showing the violation of a “clearly established” right. Id. at *7-8.
   Plaintiffs need to show that Mendez had fair notice that the absolute immunity she is normally
   afforded does not apply here. See Echols, 913 F.3d at 1325. But the Eleventh Circuit specifically
   held the “right to be free from a retaliatory investigation is not clearly established.” Shiver v. City
   of Homestead, Fla., 2021 WL 5174526, at *9 (S.D. Fla. Oct. 4, 2021) (citing Rehberg v. Paulk,
   611 F.3d 828, 851 (11th Cir. 2010)) (emphasis added). 13 Rehberg held that a Court district
   attorney’s actions were protected against a § 1983 claim by absolute and qualified immunity
   because his alleged actions in connection with investigating the plaintiff with a “retaliatory
   animus” did not violate any clearly established law and were protected by qualified immunity. Id.
   at *10. This is fatal to the FAC because the remaining allegations against Mendez not readily

   13
     See also Hernandez v. City of Homestead, Fla., 2022 WL 6569684 at *12 (S.D. Fla. Aug. 8,
   2022) (“The Supreme Court has never defined retaliatory investigation, standing alone, as a
   constitutional tort, and neither has the Eleventh Circuit.”) (cleaned up; quoting Thompson v. Hall,
   426 F. App’x 855, 858 (11th Cir. 2011)).

                                                     13
                      2990 Ponce De Leon Blvd., Suite 300, Coral Gables, FL 33134 | 305-800-4476
Case 1:23-cv-24251-FAM Document 89 Entered on FLSD Docket 02/29/2024 Page 15 of 22




   disposed of via absolute immunity are heavily based on allegations that Mendez participated in
   investigations. See e.g. FAC, ¶¶ 56-69, 487, 531. Thus, to the extent Plaintiffs’ claims against
   Mendez are based on supposedly retaliatory investigations, they should be dismissed.
          If Plaintiffs cannot point to any specific precedent on point putting Mendez on notice that
   her actions violated Plaintiffs’ constitutional rights, then Mendez’s qualified immunity merits
   dismissal here. Randall v. Scott, 610 F.3d 701, 715-716 (11th Cir. 2010). In Randall, a Georgia
   district attorney, Scott, fired her chief of staff, Randall, after Randall decided to run for election
   against Scott’s husband. Id. at 703-704. Randall brought a §1983 claim against Scott for First
   Amendment retaliation, alleging that Scott interfered with Randall’s constitutional right to run for
   office. Id. at 703-704. The Eleventh Circuit affirmed the lower court’s dismissal based on qualified
   immunity, holding that, although there is a constitutional right to run for office, it is not a clearly
   defined right. Id. at 715. The court reasoned that it was “aware of no precedential case with similar
   facts to those described here…” 14 Id. In other words, there was no precedent putting Scott on notice
   that firing Randall would violate her constitution rights. Nor is there such precedent here
   establishing that Mendez’s conduct violated Plaintiffs’ First Amendment rights. Therefore, the
   entire lawsuit against Mendez is barred by qualified immunity as and should be dismissed.
        V.      The Conspiracy Claim is Barred by the Intracorporate Conspiracy Doctrine.
          In Count XVII, all Plaintiffs allege that all Defendants conspired with each other to retaliate
   against Plaintiffs. FAC, ¶¶ 642-671. Under the intracorporate conspiracy doctrine, a corporation’s
   employees, acting as agents of the corporation, are deemed incapable of conspiring among
   themselves or with the corporation. Rehberg, 611 F.3d at 854. This doctrine stems from basic
   agency principles that “‘attribute the acts of agents of a corporation to the corporation, so that all
   of their acts are considered to be those of a single legal actor.’” Dickerson v. Alachua Cnty.
   Comm’n, 200 F.3d 761 (11th Cir. 2000).
             This doctrine applies to public entities and its employees under § 1983 and § 1985(3).


   14
     To be sure, Plaintiffs cannot simply point to broad principles of freedom of speech or assembly
   as clearly established laws. Gaines v. Wardynski, 871 F.3d 1203, 1214 (11th Cir. 2017) (holding
   defendant was entitled to qualified immunity, reasoning: “[b]ecause the case law that Gaines has
   relied upon was not particularized to the facts of the case, but rather it merely set out First
   Amendment principles at a high level of generality, it was not ‘apparent’ that passing her over for
   promotion based on things her father said would violate her constitutional rights.”)

                                                      14
                       2990 Ponce De Leon Blvd., Suite 300, Coral Gables, FL 33134 | 305-800-4476
Case 1:23-cv-24251-FAM Document 89 Entered on FLSD Docket 02/29/2024 Page 16 of 22




   McMillan v. Dekalb Cnty., Georgia, 2005 WL 5121856, at *4-5 (N.D. Ga. 2005). The Eleventh
   Circuit and its district courts have routinely held that the intracorporate conspiracy doctrine bars
   conspiracy claims against employees of a single government entity, including in cases involving
   constitutional and First Amendment claims. Rehberg, 611 F.3d at 854; White v. City of Athens,
   169 F. Supp. 3d 1254, 1270 (N.D. Ala. 2016).
          The doctrine applies when an employee was acting within the scope of their employment.
   McAndrew, 206 F.3d at 1036. Whether an individual was acting within the scope of his or her
   employment requires a determination that the “[individual] was performing a function that, but for
   the alleged constitutional infirmity, was within the ambit of the [individual’s] scope of authority
   (i.e., job-related duties) and in furtherance of the employer’s business.” Villar v. City of Aventura,
   2014 WL 3400988, at * 8 (S.D. Fla. July 11, 2014) (quoting Grider v. City of Auburn, 618 F.3d
   1240, 1261 (11th Cir. 2010)). Here, Plaintiffs do not allege Defendants, in particular Mendez, were
   acting outside of the scope of their employment. Rather, in this case, the alleged conspirators,
   including Mendez, were all alleged to be City of Miami government officials (or the City itself) at
   all relevant times. FAC, ¶¶ 18-26, 28-30. 15
          Additionally, Plaintiffs must allege that Defendants reached an agreement to deprive them
   of their constitutional rights and committed an act in furtherance of that conspiracy. Grider, 618
   F.3d at 1261 (citing Bendiburg v. Dempsey, 909 F.2d 463, 468 (11th Cir. 1990) (“The plaintiff
   attempting to prove such conspiracy must show that the parties ‘reached an understanding’ to deny
   the plaintiff his or her rights. The conspiratorial acts must impinge upon the federal right; the
   plaintiff must prove an actional wrong to support the conspiracy.”). Here, they fail to do so.
   Plaintiffs only allege without specificity that “Defendants reached an agreement to deny Plaintiffs
   their constitutional right to free speech and freedom of association.” FAC, ¶ 661. Beyond that, the
   FAC makes baseless allegations of “benefits” (id., at ¶¶ 644-660), but not an understanding. The
   vague assertion that “Defendants” as a group “reached an agreement” fails to state a claim.


   15
      Plaintiffs allege that City Manager Noriega “was not a City employee (rather, he was employed
   by the Parking Authority) . . . when he agreed to engage in the conspiracy” FAC, ¶ 664. This
   allegation, however, should be disregarded both because it contradicts the allegation that Noriega
   “at all relevant times was the City Manager” and also because earlier events fall outside the statute
   of limitations. See id., ¶¶ 20, 127-128 (events in 2018).


                                                     15
                      2990 Ponce De Leon Blvd., Suite 300, Coral Gables, FL 33134 | 305-800-4476
Case 1:23-cv-24251-FAM Document 89 Entered on FLSD Docket 02/29/2024 Page 17 of 22




             As such, Count XVII must be dismissed with prejudice for failure to state a cause of action.
         VI.      The First Amended Complaint Is an Impermissible Shotgun Pleading, and Filled
                  with Allegations Which Must Be Stricken.
             Mendez incorporates and adopts by reference Section II.B.1. of the Carollo Motion to
   Dismiss. To supplement that argument, Mendez further notes that the FAC is a shotgun pleading
   under the third category identified in Weiland, as well as the second and fourth prohibited category
   as set forth in the Carollo Motion to Dismiss:
             1. “[A] complaint containing multiple counts, where each count adopts the
             allegations of the preceding counts”; 16
             2. A complaint littered with “conclusory, vague and immaterial facts not obviously
             connected to any particular cause of action”;
             3. A complaint that fails to “separate[e] into a different count each cause of action
             or claim for relief”; and
             4. A complaint that “assert[s] multiple claims against multiple defendants without
             specifying which of the defendants are responsible for which acts or omissions[.]”
   Weiland v. Palm Beach Cty. Sheriff’s Off., 792 F.3d 1313, 1321 n.9 (11th Cir. 2015); McDonough
   v. City of Homestead, 771 Fed. Appx. 952, 955 (11th Cir. 2019) (same).
             With respect to the third category of shotgun pleading, McDonough v. City of Homestead,
   2023 WL 3035215 (11th Cir. Apr. 21, 2023), is on all fours. There, the Eleventh Circuit recognized
   the complaint was a shotgun pleading where each count asserts complaints against five defendants,
   four of whom were individuals and one of whom was a city, and thus subject to different claims.
   Id. at *2. A complaint which did not separate into a different count each cause of action or claim
   for relief was held to be a shotgun pleading. Id. See also Davis v. Coca-Cola Bottling Co. Consol.,
   516 F.3d 955, 979–80 (11th Cir. 2008) (condemning shotgun pleading that bunched together
   “untold causes of action” in one count). The McDonough court also recognized that the complaint
   was a shotgun pleading because:
               Besides the fact that all defendants are lumped together, there is no specificity as to
               who is responsible for certain acts or omissions. Each count alleges First, Fourth,
               and Fourteenth Amendment violations. And the counts vacillate between holding
               “each” defendant responsible for the alleged constitutional violations, and claiming
               that only “some” of them participated. Overall, the complaint is “replete with
               conclusory, vague, and immaterial facts not obviously connected to any particular

   16
        Counts XV, XVI, and XVII incorporate all of the preceding counts’ allegations.

                                                         16
                          2990 Ponce De Leon Blvd., Suite 300, Coral Gables, FL 33134 | 305-800-4476
Case 1:23-cv-24251-FAM Document 89 Entered on FLSD Docket 02/29/2024 Page 18 of 22




          cause of action.”
   2023 WL 3035215, at *2 (internal citation omitted). The FAC is even more egregious with respect
   to these defects, as seen in the countless examples of “conclusory vague and immaterial facts”,
   and therefore requires dismissal or repleading. “To fix these problems, the complaint must contain
   specific allegations with respect to each Defendant, separating the distinct allegations against the
   various Defendants into separate counts, which must each identify a particular cause of action.”
   Webb v. Miami-Dade Cnty. Gov’t, 2023 WL 5951821, at *2 (S.D. Fla Aug. 25, 2023). The FAC did
   not fix any of these problems; it only separated § 1983 Claims by Plaintiff, but the Defendants
   remained lumped together. As for the Civil Conspiracy Claim, Plaintiffs did not bother even
   separating the Plaintiffs. Considering the FAC did not fix this problem, it is evidently unfixable,
   and requires dismissal with prejudice. Because Plaintiffs have had the opportunity to fix the
   shotgun pleading, but have failed to, dismissal of the FAC with prejudice is appropriate. See e.g.,
   McDonough, 771 F. App'x at 955–56.
          Next, Subsection II.B.1.b. of Carollo’s Motion to Dismiss correctly sets forth that the
   FAC’s legions of improper speculation and legal conclusions are flanked by platoons of rank
   immateriality. The FAC is a shotgun pleading because it is “replete with conclusory, vague, and
   immaterial facts not obviously connected to any particular cause of action.” Peele v. Jones Day,
   2023 WL 3088830, at *2 (S.D. Fla. Apr. 26, 2023) (citing Weiland, 792 F.3d at 1322). Additionally,
   these allegations should also be stricken as scandalous, redundant, immaterial and impertinent
   under Rule 12(f). Rule 12(f)(1) and (2) provide the court with the power to strike redundant,
   immaterial, impertinent, or scandalous matter sua sponte or upon motion by a party. 17 In addition
   to the allegations that Carollo highlights, Mendez also points to:




   17
     See Dershowitz v. Cable News Network, Inc., 541 F. Supp. 3d 1354, 1370 (S.D. Fla. 2021)
   (striking immaterial allegations as an “impertinent salvo that do no not belong in this case.”); see
   also Jenkins v. City of Las Vegas, 333 F.R.D. 544, 548 (D.N.M. 2019) (striking statements implying
   mayor is prone to criminality and immoral, and allegations regarding investigation of mayor for
   bid-rigging, bribery, kickbacks, voter fraud, and elections tampering did not have any direct
   relevance to employee’s claims of discrimination or retaliation.)

                                                     17
                      2990 Ponce De Leon Blvd., Suite 300, Coral Gables, FL 33134 | 305-800-4476
Case 1:23-cv-24251-FAM Document 89 Entered on FLSD Docket 02/29/2024 Page 19 of 22




   Mendez is, of course, the City Attorney, not a “Black Widow” nor a Medellin Cartel gangster, nor
   any other such trope, and she does not employ (nor do Plaintiffs seriously allege) that she employs
   a personal assassin. Such lurid and scurrilous metaphors are not suited for a legal filing; they are
   better suited for a pulp detective novel. Nor do cheap shots at her husband have any place in this
   litigation. Such allegations 18 should be stricken.
        VII.      Plaintiffs Fail to State a Claim for First Amendment Retaliation Due to the
                  Impermissible Lumping and Overall Lack of Specificity.
            Closely related to the shotgun pleading doctrine is “lumping”: indeed, the terms are often
   used in tandem or interchangeably. See e.g. Webb, 2023 WL 5951821, at *2 (“A typically confusing
   aspect of many shotgun pleadings involving multiple defendants is the lumping together of all
   those defendants within the same count.”). The lumping and overall lack of specificity leaves
   Plaintiffs unable to state a claim for First Amendment retaliation because each plaintiff fails to
   plead the elements. Here, Mendez incorporates and adopts by reference Subsections II.B.1.a. and
   II.B.2. from the Carollo Motion to Dismiss, Sections V and VI from Defendant Arthur Noriega’s
   Motion to Dismiss Plaintiffs’ Complaint, and Section IV of Dooley’s Motion to Dismiss.
               The elements of First Amendment retaliation claim are: (1) speech that was constitutionally
   protected; (2) the defendant’s retaliatory conduct adversely affected the protected speech; and (3)
   a causal connection between the retaliatory actions and the adverse effect on speech. Jacobo, 2013
   WL 5435729 at *3. As to the first prong, it appears that only Pinilla and Fuller engaged in speech.
   Further, it is unclear what speech, if any, the entity Plaintiffs engaged in---even with each Plaintiff
   now pleading their counts separately. Instead, they now rely on “freedom of association”, which
   is unavailing for the reasons set forth in Section V of Noriega’s Motion to Dismiss.


   18
      FAC, p. 12 (heading), ¶¶ 75, 129 (lurid accusations of a “Valentine’s Day Massacre”); ¶ 67-68,
   572, 650 (impertinent and scurrilous allegations regarding Mendez’s husband); ¶ 120 (“Mendez
   threatened ominously”); ¶ 156 (allegation and chart of a “cabal” or “syndicate”); p. 11 (heading),
   p. 28 (heading), ¶¶ 79, 127, 195, 221, 249, 386, 422, 477, 560 (more references to a “ syndicate”).
   Mendez incorporates by reference the motion to strike portion of Defendant Daniel Goldberg’s
   Motion to Dismiss First Amended Complaint and to Dismiss/Strike First Amended Complaint as
   Scandalous and Impertinent.

                                                         18
                          2990 Ponce De Leon Blvd., Suite 300, Coral Gables, FL 33134 | 305-800-4476
Case 1:23-cv-24251-FAM Document 89 Entered on FLSD Docket 02/29/2024 Page 20 of 22




          Then, to satisfy the second and third prongs, “[a] plaintiff suffers adverse action if the
   defendant’s allegedly retaliatory conduct would likely deter a person of ordinary firmness from the
   exercise of First Amendment rights.” Jacobo, 2013 WL 5435729 at *3. Further, the conduct must
   adversely affect the first amendment activity, and there must be a causal connection between the
   defendant’s retaliatory conduct and the adverse effect. DeMartini v. Town of Gulf Stream, 942 F.3d
   1377 (11th Cir. 2019) (citation omitted). Plaintiffs do not allege that Mendez even knew that
   Plaintiffs were purporting to exercise their speech, nor do Plaintiffs, beyond generalities, allege a
   chilling effect---for instance, the entity Plaintiffs continue to associate with Fuller and Pinilla.
   Further, Mendez is not even alleged to have any personal animus towards Plaintiffs. The vendetta
   is Carollo’s, not Mendez’s. E.g. FAC, ¶ 127 (“…Carollo was targeting Plaintiffs for political
   payback…”). All specific allegations regarding the retaliatory animus apply to Carollo, not
   Mendez. Id., ¶¶ 43-45. There are no such allegations regarding Mendez—not a hint of what could
   cause her to bear a “grudge” against any of the Plaintiffs, let alone any specific Plaintiff. Rather
   than animus, Plaintiffs simply plead that Mendez was any “ally” of Carollo—this does not suffice.
   Compare Id., ¶¶ 66-67. Vicarious liability for Carollo cannot be imputed to Mendez. See Turner
   v. Williams, 65 F. 4th 564 (11th Cir. 2023). As a result, the claims against Mendez fail because the
   First Amended Complaint fails to adequately allege that Mendez had “retaliatory animus” that was
   a but-for cause of any particular alleged adverse action, let alone one that adversely affected their
   exercise of first amendment rights. Nieves, 139 S. Ct. at 1722.
          Further, establishing which of the Plaintiffs was actually harmed by which of the
   Defendants, and which actions were in retaliation for whom, is no mere academic exercise. The
   Supreme Court has held that corporations possess First Amendment rights that are personal to the
   corporation itself, rather than its shareholders, directors, or employees, and are thus capable of
   bringing suit directly under § 1983. Citizens United v. Fed. Election Com'n, 558 U.S. 310 (2010).
   Moreover, when a person suffers retaliation for someone else’s actions, the claim for retaliation,
   and standing, lies directly with the person who was retaliated against. 19 This is a particularly



   19
     See e.g. Merritt v. Dillard Paper Co., 120 F.3d 1181, 1188-89 (11th Cir. 1997) (recognizing in
   an employment discrimination context that an employer can engage in retaliation by targeting an
   employee’s family members, but that the employee would not have standing to pursue that claim
   on behalf of the family member because the claim lies directly with the family member).

                                                     19
                      2990 Ponce De Leon Blvd., Suite 300, Coral Gables, FL 33134 | 305-800-4476
Case 1:23-cv-24251-FAM Document 89 Entered on FLSD Docket 02/29/2024 Page 21 of 22




   pronounced issue here because of another case concurrently pending, Mad Room v. City of Miami,
   1:21-cv-23485-RKA (S.D. Fla.), on behalf of just four of the Fuller entities. This is not only
   impermissible claim-splitting, but a standing issue: Mad Room LLC d/b/a Ball & Chain and Altos
   Mexicano, LLC d/b/a Taquerias El Mexicano are plaintiffs in Mad Room but not here, yet, per
   Mad Room, own and operate Ball & Chain and Taquerias El Mexicano, respectively. Id., DE 1 at
   ¶¶ 8, 9. Compare FAC, ¶¶ 27, 52-53, 85-86, 125, 194-239, 247-278 (allegations regarding Ball &
   Chain and Taquerias El Mexicano). This standing issue shows why Plaintiffs cannot lump
   themselves or Defendants together—each plaintiff must establish each element of each claim
   against each defendant. They wholly fail to do so. Mendez further incorporates by reference
   Section IV of Noriega’s Motion to Dismiss on Plaintiffs’ lack of standing. For the reasons stated
   herein, and therein, the FAC must be dismissed.
     VIII.    Because the First Amended Complaint Alleges That the City’s Enforcement
              Actions Were Justified, Plaintiffs Have No § 1983 Claim.
          Mendez incorporates and adopts by reference Section II.D. of the Carollo Motion to
   Dismiss and Section VI.D. of Defendant Noriega’s Motion to Dismiss.
       IX.    The Statute of Limitations Bars the Claims for Acts Taken On or Before
              November 6, 2019.
          Mendez incorporates and adopts by reference Section II.C. of Carollo’s Motion to Dismiss
   and Section VIII of Noriega’s Motion to Dismiss. See also In USA Entm’t Grp., Inc. v. Tony, 847
   Fed. Appx. 642, 646 (11th Cir. 2021) (explaining that the statute of limitations for a §1983 suit is
   four years). Further, the face of the FAC shows that several of the allegations against Mendez
   specifically are for actions that took place before November 6, 2019. See FAC at ¶¶ 54-71, 75,
   127, 166, 174, 528, 597-600. The FAC should, at a minimum, be dismissed as to those allegations.
                                             CONCLUSION
          For the foregoing reasons, Mendez respectfully requests that this Court dismiss the FAC
   with prejudice, or alternatively, strike the headings on pages 11, 12, 28 and paragraphs 67-68, 75,
   79, 120, 127, 129, 135, 136, 156, 195, 221, 249, 386, 422, 477, 560, 572, 650 and grant other and
   further relief that this Court deems just and proper.
                                REQUEST FOR ORAL ARGUMENT
          Pursuant to Local Rule 7.1(b)(2), Mendez respectfully requests a two-hour hearing on this
   motion, which raises numerous complex issues which oral argument would address and illuminate.


                                                     20
                      2990 Ponce De Leon Blvd., Suite 300, Coral Gables, FL 33134 | 305-800-4476
Case 1:23-cv-24251-FAM Document 89 Entered on FLSD Docket 02/29/2024 Page 22 of 22




   Dated: February 29, 2024.

                                                     Respectfully submitted,

                                                     HEISE SUAREZ MELVILLE, P.A.
                                                     2990 Ponce De Leon Boulevard
                                                     Suite 300
                                                     Coral Gables, Florida 33134
                                                     Telephone (305) 800-4476

                                                     By: /s/ Luis E. Suarez
                                                             Luis E. Suarez
                                                             Florida Bar No. 390021
                                                             lsuarez@hsmpa.com
                                                             Patricia Melville
                                                             Florida Bar No. 475467
                                                             pmelville@hsmpa.com

                                                          Attorneys for Defendant,
                                                          City Attorney Victoria Mendez


                                   CERTIFICATE OF SERVICE
          I hereby certify that, on February 29, 2024, I electronically filed the foregoing with the

   Clerk of the Court using CM/ECF. Copies of the foregoing document will be served on all parties

   via transmission of Notice of Electronic Filing generated by CM/ECF.

                                                     By: /s/ Luis E. Suarez
                                                             Luis E. Suarez
                                                             Florida Bar No. 390021




                                                    21
                     2990 Ponce De Leon Blvd., Suite 300, Coral Gables, FL 33134 | 305-800-4476
